             Case
             Case 1:19-cr-00545-CM
                  1:19-cr-00545-CM Document
                                   Document 68
                                            69 Filed
                                               Filed 02/06/20
                                                     02/07/20 Page
                                                              Page 11 of
                                                                      of 11

&ii GreenbergTraurig

                                                      February 6, 2020       i 2°
                                                                           ,z, { 7   2- (')



The Honorable Colleen McMahon
United States District Court
                                                                           OK
Southern District of New York
500 Pearl Street
New York, NY 10007
                                                                           k_,i~
       Re:      United States v. Michael Carroll, et. al., No. l 9-cr-545 (CM)

Dear Chief Judge McMahon:

        We are counsel to Michael Pappagallo in the above-referenced matter. Pursuant
to Rule V.E. of Your Honor's Individual Practices and Procedures, we write to
respectfully request leave to file an omnibus reply, in excess of IO pages, in support of
Mr. Pappagallo's Motion to Dismiss the Indictment, ECF No. 46, and Motion for a Bill
of Particulars, ECF No. 49. Mr. Pappagallo intends to submit one joint reply addressing
these two motions, and thus requests up to 20 pages for filing.

       We thank the Court for its consideration of this request.

                                                     Respectfully submitted,

                                                     Isl Daniel P. Filor
                                                     Daniel P. Fil or

cc: All Counsel of Record
